            Case 2:09-cr-00183-RSM           Document 79        Filed 06/22/09      Page 1 of 2




 1

 2

 3

 4

 5                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 6                                        AT SEATTLE

 7 UNITED STATES OF AMERICA,                            )
                                                        )
 8                              Plaintiff,              )    Case No. CR09-183 RSM
                                                        )
 9          v.                                          )
                                                        )    DETENTION ORDER
10 MICHAEL A. WINCHESTER ,                              )
                                                        )
11                              Defendant.              )
                                                        )
12
     Offense charged:
13
            Conspiracy to Distribute Methamphetamine
14
     Date of Detention Hearing: June 22, 2009.
15
            The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and
16
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds that
17
     no condition or combination of conditions which the defendant can meet will reasonably assure the
18
     appearance of the defendant as required and the safety of any other person and the community.
19
                 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20
            Defendant has an extensive criminal history going back to 1994. He has failed to appear
21
     numerous times for court appearances and has been committed criminal offenses while on
22
     supervision. According to the Pretrial Report, he was terminated from a treatment program in May
23


     DETENTION ORDER -1
            Case 2:09-cr-00183-RSM          Document 79        Filed 06/22/09      Page 2 of 2




 1 2009 for using methamphetamine. Defendant also has an active Department of Corrections

 2 detainer.

 3         It is therefore ORDERED:

 4         (1)     Defendant shall be detained pending trial and committed to the custody of the

 5 Attorney General for confinement in a correctional facility separate, to the extent practicable, from

 6 persons awaiting or serving sentences, or being held in custody pending appeal;

 7         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 8 counsel;

 9         (3)     On order of a court of the United States or on request of an attorney for the

10 Government, the person in charge of the correctional facility in which Defendant is confined shall

11 deliver the defendant to a United States Marshal for the purpose of an appearance in connection

12 with a court proceeding; and

13         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

14 for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

15         DATED this 22nd day of June, 2009.

16

17                                                        A
                                                          BRIAN A. TSUCHIDA
18                                                        United States Magistrate Judge

19

20

21

22

23


     DETENTION ORDER -2
